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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11
12 UNITED STATES OF AMERICA,   )               CR 02-531-RSWL-2
                               )
13              Plaintiff,     )
                               )               ORDER re: Defendant
14                             )               Cenobio Herrera’s Motion
        v.                     )               for Sentence Reduction
15                             )               [486];Motion to Appoint
                               )               Counsel [485]
16 CENOBIO H. HERRERA, SR., et )
   al.,                        )
17                             )
                Defendants.    )
18                             )
                               )
19                             )
                               )
20                             )
21         Currently before the Court is Defendant Cenobio
22 Herrera’s (“Defendant”) pro se Motion to Appoint Counsel
23 [485] and Motion for Sentence Reduction [486] pursuant
24 to 18 U.S.C. § 3582(c)(1)(B).               Defendant bases his
25 Motion on (1) the First Step Act, Pub. L. No. 115-391
26 and (2) Amendment 782 to the Sentencing Guidelines.
27                                I. Background
28         In May 2002, Defendant was indicted for: conspiracy
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 1 to aid and abet the manufacture of more than 500 grams
 2 of a mixture or substance containing a detectable amount
 3 of methamphetamine and to possess pseudoephedrine
 4 knowing or having reasonable cause to believe that it
 5 would be used to manufacture a controlled substance, in
 6 violation of 21 U.S.C. § 846, 841(a)(1), 841(c)(2), and
 7 18 U.S.C. §2; illegal possession of pseudoephedrine in
 8 violation of 21 U.S.C. § 841(c)(2); and conspiracy to
 9 commit money laundering and substantive money laundering
10 in violation of 18 U.S.C. §§ 1956(h), 1956(a)(1), and
11 1957 [1].        On March 19, 2003, a jury convicted Defendant
12 on all counts of the indictment [130, 133].                    This Court
13 entered judgment against Defendant on December 22, 2003
14 [183], and sentenced him to 360 months imprisonment
15 [182].
16                                II. Discussion
17 A.      Motion to Appoint Counsel
18         The constitutional right to counsel extends only
19 through a criminal defendant’s first appeal; after that,
20 “the decision whether to appoint counsel rests in the
21 discretion of the district court.”                 United States v.
22 Richardson, 569 F. App’x 504, 504-05 (9th Cir. 2014)
23 (internal quotation marks omitted); see Pennsylvania v.
24 Finley, 481 U.S. 551, 555 (1987); see also United States
25 v. Angelone, 894 F.2d 1129, 1130 (9th Cir. 1990)
26 (“Prisoners do not have a constitutional right to
27 counsel when mounting collateral attacks upon their
28 convictions”).
                                           2
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 1         Defendant is not entitled to appointment of counsel
 2 to assist him with his Motion.                See Richardson, 569 F.
 3 App’x at 504-05.          Upon review, Defendant’s Motion does
 4 not contain any complex issues requiring assistance of
 5 counsel, and no other circumstances surrounding
 6 Defendant or his Motion persuade the Court that
 7 appointment of counsel is appropriate.
 8 B.      First Step Act
 9         The Court denies Defendant’s Motion to the extent
10 that he seeks a sentence reduction pursuant to the First
11 Step Act.        First, while “[t]here are a number of reforms
12 in the First Step Act . . . Section 404 is the only
13 provision that applies retroactively to defendants who
14 have already been sentenced.”                United States v.
15 Gonzalez-Oseguera, No. CR 06-00593 HG-01, 2019 WL
16 1270916, at *2 (D. Haw. Mar. 19, 2019).                   However,
17 Section 404 of the First Step Act only applies to
18 cocaine-based offenses and Defendant was not convicted
19 of a cocaine-based offense.                 See United States v. Huy
20 Trinh, No. 10-cr-00385-SI-1, 2019 WL 2061104, at *1
21 (N.D. Cal. May 9, 2019)(“Defendant is not eligible for a
22 sentence reduction under the First Step Act because he
23 was convicted of an offense involving marijuana, not
24 crack cocaine.”).
25         Second, Defendant points to the fact that he is an
26 “elderly offender”, presumably in hopes of taking
27 advantage of the First Step Act’s elderly offender
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 1 reunification provision, which provides for the possible
 2 early release to home detention of certain elderly
 3 offenders who are at least sixty years of age, serving a
 4 prison term of less than life, and who have served at
 5 least two-thirds of their prison term.                  See 34 U.S.C. §
 6 60541(g)(5).         However, Defendant is not eligible for
 7 such relief because he has not yet served two-thirds of
 8 his prison term, and even if he had, the Court is not in
 9 a position to adjust his sentence or the method of his
10 imprisonment since the “statute merely grants the
11 Attorney General discretion to release eligible elderly
12 offenders.”         United States v. Tikal, No. 12-cr-000362-
13 TLN-KJN, 2019 WL 3035557, at *4 (E.D. Cal. July 11,
14 2019); United States v. Perez-Asencio, No. 18CR3611-H,
15 2019 WL 626175, at *4 (S.D. Cal. Feb. 14, 2019)
16 (quotations omitted) (“Title 18, U.S.C. § 3582(c)(1)(B)
17 only permits courts to modify an imposed term of
18 imprisonment, not the method of incarceration and Title
19 34 U.S.C. § 60541 only authorizes the Attorney General,
20 not the courts, to modify the method of imprisonment
21 from a BOP facility to home confinement.”).
22 C.      Amendment 782 to Sentencing Guidelines
23         As to Defendant’s request for a sentence reduction
24 pursuant to Amendment 782 to the Sentencing Guidelines,
25 the Court sets the following briefing schedule:
26         Government’s Opposition: August 16, 2019
27         Defendant’s Optional Reply: September 16, 2019
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 1                               III. Conclusion
 2         Based on the foregoing, the Court DENIES
 3 Defendant’s Request to Appoint Counsel.                   The Court
 4 DENIES in part Defendant’s Motion to reduce his sentence
 5 pursuant to the First Step Act, and sets the
 6 aforementioned briefing schedule as to Defendant’s
 7 request to reduce his sentence pursuant to Amendment 782
 8 to the Sentencing Guidelines.
 9
10 IT IS SO ORDERED.
11
12 DATED: July 29, 2019
13                                          HONORABLE RONALD S.W. LEW
                                            Senior U.S. District Judge
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